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11
                                  UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13
                                         SAN FRANCISCO DIVISION
14

15
     NIANTIC, INC., a Delaware corporation.        Case No. 19-cv-3425
16
                            Plaintiff,             NIANTIC, INC.’S CORPORATE
17                                                 DISCLOSURE STATEMENT AND
            v.                                     CERTIFICATE OF INTERESTED
18                                                 ENTITIES OR PERSONS

19   GLOBAL++, an unincorporated
     association; RYAN HUNT, a.k.a.
20   “ELLIOTROBOT,” an individual;
     ALEN HUNDUR, a.k.a. “IOS N00B,”
21   an individual; and DOES 1-20,
22                          Defendants.
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                                                            CORPORATE DISCLOSURE STATEMENT
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 1          Pursuant to Federal Rule of Civil Procedure 7.1 and Civil Local Rule 3-15, plaintiff
 2   Niantic, Inc. (“Niantic”), through the undersigned counsel, certifies that (1) Niantic has no parent
 3   corporation and (2) the following listed persons, associations of persons, firms, partnerships,
 4   corporations (including parent corporations) or other entities (i) have a financial interest in the
 5   subject matter in controversy or in a party to the proceeding, or (ii) have a non-financial interest
 6   in that subject matter or in a party that could be substantially affected by the outcome of the
 7   proceeding:
 8          The only person or entity that owns more than 10 percent of Niantic’s stock, on a fully-
 9   diluted basis, is Google LLC. As of this date, Niantic is unaware of any other person or entity,
10   other than the named parties, with a financial or other interest that could be substantially affected
11   by the outcome of this proceeding. These representations are made to enable the Court to evaluate
12   possible disqualification or recusal.
13
     DATED: June 14, 2019                                PERKINS COIE LLP
14

15                                                       By:     /s/ Julie E. Schwartz
16                                                             Julie E. Schwartz, Bar No. 260624
                                                               JSchwartz@perkinscoie.com
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                                                         Attorneys for Plaintiff Niantic, Inc.
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                                                                    CORPORATE DISCLOSURE STATEMENT
